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                                        No. 19-901C
                                   (Filed June 28, 2019)
                                 NOT FOR PUBLICATION

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MARIKI EARL,                             *
                                         *
                    Plaintiff,           *
                                         *
      V.                                 *
                                         *
THE UNITED STATES,                       *
                                         *
                    Defendant.           *
                                         *
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                                        ORDER

       On June 20, 2019, the complaint in this case was filed by prose plaintiff
Mariki Earl. While the complaint is not entirely clear or coherent, what is clear
from a careful review is that it does not involve anything within the subject-matter
jurisdiction of our court. In his jurisdictional statement, Mr. Earl discusses a case
he filed in the U.S. District Court for the Southern District of Texas, in which he
failed to get compensation for lack of due process, for other unspecified
constitutional violations, and for the termination of several other cases he brought
in that district. Compl. at 1. The statement of his claim mentions alleged price-
fixing by oil companies, the intellectual property of oil companies, and a complaint
he apparently filed with the U.S. Department of Labor concerning the McNamara-
O'Hara Service Contract Act. See Compl. at 2.

       Like many of the individuals who bring their own cases in our court without
the assistance of lawyers, Mr. Earl appears to misunderstand the purpose of our
court and the jurisdiction given to us by Congress. We are primarily empowered,
under the Tucker Act, to hear cases brought against the United States government
by parties alleging the breach of a contract or the violation of a particular type of
law that requires the federal government to pay money in certain circumstances.
See 28 U.S.C. § 1491(a). Plaintiff's complaint does not allege the existence of a
contract with the government, and also fails to allege that the federal government
violated a money-mandating statute. Cf. United States u. Mitchell, 463 U.S. 206,




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216-17 (1983); Smith v. United States, 709 F.3d 1114, 1116 (Fed. Cir. 2013) ("To be
cognizable under the Tucker Act, the claim must be for money damages against the
United States, and the substantive law must be money-mandating.").

       To the extent Mr. Earl is complaining about the actions of oil and gas
companies, these actions are not by the federal government and thus cannot be
challenged in our court. See Mora v. United States, 118 Fed. Cl. 713, 716 (2014)
("To the extent that plaintiff states claims against private individuals or entities,
the court lacks jurisdiction over these claims."). His complaint refers to the federal
government only in two regards. He alleges that a complaint he filed with the U.S.
Department of Labor "wasn't assessed." Compl. at 2. But the statute he cites, the
McNamara-O'Hara Service Contract Act, does not compel payments by the federal
government, and instead regulates the wage practices of federal contractors and
subcontractors. See 41 U.S.C. §§ 6701-07. Mister Earl also complains about a U .S.
district court's handling of various cases he attempted to pursue. Compl. at 1. But
our court does not have the power to review district court decisions. See Joshua v.
United States, 17 F .3d 378, 380 (Fed. Cir. 1994) (holding that this court "does not
have jurisdiction to review the decisions of district courts ... relating to proceedings
before those courts"); Vereda, Ltda. v. United States, 271 F.3d 1367, 1375 (Fed. Cir.
2001) (explaining that this court is not an appellate tribunal, and "does not have
jurisdiction to review the decisions of district courts").

       When a plaintiff has failed to state a claim that falls within the subject-
matter jurisdiction of our court, a sua sponte dismissal is required. See Rule
12(h)(3) of the Rules of the United States Court of Federal Claims (RCFC) (stating
that "if the court at any time determines that it lacks subject-matter jurisdiction,
the court must dismiss the action"); see also Martinez v. United States, 281 F.3d
1376, 1380 (Fed. Cir. 2002); Sanders v. United States, 252 F.3d 1329, 1331 (Fed.
Cir. 2001). Since our court lacks subject-matter jurisdiction over Mr. Earl's
complaint it is therefore DISMISSED pursuant to RCFC 12(h)(3). The Clerk is
directed to close the case.t

IT IS SO ORDERED.




t   Mister Earl's application to proceed in forma pauperis is hereby GRANTED.
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